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                                                                   6    [Proposed] Counsel to Bradley D. Sharp,
                                                                        Chapter 11 Trustee
                                                                   7

                                                                   8                                 UNITED STATES BANKRUPTCY COURT

                                                                   9                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                        LOS ANGELES DIVISION

                                                                  11
                                                                       In re:                                              Case No.: 2:23-bk-10990-SK
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                       LESLIE KLEIN,                                       Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13
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                                                                                                       Debtor.             CHAPTER 11 TRUSTEE’S RESPONSE TO
                                                                  14                                                       THE MOTION FOR RELIEF FROM THE
                                                                                                                           AUTOMATIC STAY UNDER 11 U.S.C. § 362
                                                                  15
                                                                                                                           Date:        July 12, 2023
                                                                  16                                                       Time:        8:30 am
                                                                                                                           Courtroom:   1575
                                                                  17                                                       Location:    255 E. Temple Street
                                                                                                                                        Los Angeles, CA 90012
                                                                  18                                                       Judge:       Hon. Sandra R. Klein
                                                                  19

                                                                  20

                                                                  21            Bradley D. Sharp (“Trustee”), the duly appointed trustee for the chapter 11 estate of Leslie
                                                                  22   Klein (the “Debtor”), hereby files this response (the “Response”) to the Motion for Relief from the
                                                                  23   Automatic Stay Under 11 U.S.C. § 362 [Docket No. 174] (the “Motion”) filed by NewRez LLC d/b/a
                                                                  24   Shellpoint Mortgage Servicing, as servicer for J.P. Morgan Mortgage Acquisition Corp. (the
                                                                  25   “Movant”). In support of the Response, the Trustee respectfully represents as follows:
                                                                  26   A.       Background
                                                                  27            The Debtor commenced a voluntary chapter 11 case on February 22, 2023. On March 10,
                                                                  28   2023, the Office of the United States Trustee (the “UST”) filed a statement regarding the Debtor’s


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                                                                   1   failure to comply with various requirements under the Bankruptcy Code, Bankruptcy Rules, and

                                                                   2   certain notices and guidelines promulgated by the UST. See [Docket No. 42].

                                                                   3            On May 17, 2023, in response to certain motions to dismiss the Debtor’s chapter 11 case

                                                                   4   filed certain creditors of the Debtor’s estate, the Court entered an order directing the UST to appoint

                                                                   5   a chapter 11 trustee. See [Docket No. 142].

                                                                   6            On May 23, 2023, the UST filed a notice appointing Bradley D. Sharp (the “Trustee”) as the

                                                                   7   chapter 11 trustee of the Debtor’s chapter 11 case. See [Docket No. 151]. On May 24, 2023, the UST

                                                                   8   filed an application for an order approving the appointment of Mr. Sharp as the Trustee. See [Docket

                                                                   9   No. 154]. On May 24, 2023, the Court entered an order approving the appointment of Mr. Sharp as

                                                                  10   the Trustee. See [Docket No. 155]. On May 24, 2023, Mr. Sharp accepted his appointment as

                                                                  11   Trustee. See [Docket No. 156].
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                                                                  12            Since the Trustee’s appointment, he and his proposed forensic accounting firm and his
                                        LOS ANGELES, CALIFORNIA




                                                                  13   proposed bankruptcy counsel have been communicating with the Debtor, the Debtor’s creditors, and
                                           ATTORNEYS AT LAW




                                                                  14   others that have engaged in business with the Debtor for the purpose of collecting information about

                                                                  15   property of the estate including claims the estate holds against others and claims that parties have

                                                                  16   asserted against the Debtor. The Trustee is in the beginning stages of the collection of information

                                                                  17   regarding property of the estate and the investigation into the various business and other

                                                                  18   arrangements between the Debtor and other parties.

                                                                  19   B.       The Loan and the 143 S. Highland Property

                                                                  20            The Debtor owns real property located at 143 S. Highland, Los Angeles, CA 90036 (the

                                                                  21   “Property”) (Motion, pg. 7 and Exhibit 6). On or about April 1, 2019, the Debtor borrowed

                                                                  22   approximately $1,100,000 and secured his repayment obligations with a deed of trust against the

                                                                  23   Property. Motion, Exhibit 1.

                                                                  24            Under the loan documents, the Debtor is required to pay Movant $10,708.79 per month.

                                                                  25   (Motion pg. 8). According to the Motion, the Debtor has not made any payments that have come due

                                                                  26   after the Petition date (March – June, 2023) (Motion pg. 8 and Exhibit 4). As of the filing of the

                                                                  27   Motion, Movant estimates that the Debtor owes Movant approximately $1,273,478. (Motion pg. 8).

                                                                  28   However, Movant concedes that the Property has a value of approximately $2,200,000 and that there

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                                                                   1   is an equity cushion of at least $926,541, which represents 42% of the value of the Property. (Motion

                                                                   2   pg. 8).

                                                                   3   C.        The Motion and Trustee’s Communications with Movant

                                                                   4             On June 14, 2023, Movant filed the Motion seeking relief from the automatic stay so that it

                                                                   5   can foreclose against the Property for the Debtor’s failure to make timely payments under the loan

                                                                   6   documents. (Motion pg. 5). In the event the Motion is granted, Movant seeks an immediate waiver of

                                                                   7   the 14-day stay so that Movant can exercise its remedies as soon as an order is entered.

                                                                   8             Trustee’s counsel called and spoke to Movant’s counsel asking that the Motion be continued

                                                                   9   or taken off calendar so that the Trustee can engage a real estate broker who can market and sell the

                                                                  10   Property. The proceeds of any sale would be used to pay off the obligations of the Movant and the

                                                                  11   excess proceeds would be paid into the Debtor’s estate for the Trustee to administer. Movant’s
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                                                                  12   counsel has not responded to the Trustee’s request. The Trustee’s counsel followed up but had not
                                        LOS ANGELES, CALIFORNIA




                                                                  13   received a response.
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                                                                  14   D.        The Motion Should be Denied or Continued

                                                                  15             Movant admits that it is more than adequately protected by an equity cushion equal to 42% of

                                                                  16   the Property’s total value of $2,200,000. The Trustee should be afforded time to engage a real estate

                                                                  17   broker so that the Property can be sold for the benefit of Movant but also the Debtor’s estate. As the

                                                                  18   Court is aware, the Trustee was recently appointed so that he can investigate and administer the

                                                                  19   Debtor’s estate. The Trustee is actively engaged in such efforts. The lifting of the automatic stay to

                                                                  20   enable Movant to foreclose against the Property would thwart the Trustee’s duty and prevent the

                                                                  21   Debtor’s estate from benefiting from the substantial equity in the Property.

                                                                  22

                                                                  23                                  [Remainder of page intentionally left blank]

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                                                                   1   E.       Conclusion

                                                                   2            For the reasons stated herein and at the hearing, the Trustee respectfully requests the Court to

                                                                   3   deny the Motion.

                                                                   4    Dated:     June 28, 2023                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                   5
                                                                                                                       By      /s/ John W. Lucas
                                                                   6
                                                                                                                               John W. Lucas
                                                                   7
                                                                                                                               [Proposed] Counsel to Bradley D. Sharp,
                                                                   8                                                           Chapter 11 Trustee
                                                                   9

                                                                  10

                                                                  11
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                                                                  12
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                     10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): CHAPTER 11 TRUSTEE’S RESPONSE TO THE
MOTION FOR RELIEF FROM THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 28, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                       Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) June 28, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                       Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ____________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                       Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 28, 2023                  Nancy H. Brown                                                   /s/ Nancy H. Brown
 Date                           Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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       Roye Zur rzur@elkinskalt.com, cavila@elkinskalt.com;lwageman@elkinskalt.com;1648609420@filings.docketbird.com


2. SERVED BY UNITED STATES MAIL:


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Michael Jones, Assistant U.S. Trustee                     Kirsten Martinez
Office of the U.S. Trustee                                Bonial & Associates, P.C.
915 Wilshire Boulevard, Suite 1850                        3160 Crow Canyon Place, Suite 215
Los Angeles, CA 90017                                     San Ramon, California 94583




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